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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                                    Case No. CR 08-207-BLW-4
                         Plaintiff,
                                                    ORDER MODIFYING DETENTION
  v.                                                ORDER BASED ON PARTIES’
                                                    STIPULATION TO SET
  ANTONIO M. CARRERA,                               CONDITIONS OF RELEASE

                         Defendant.


       Pursuant to Section 3142(f) of the Bail Reform Act of 1984, this Court conducted a

detention hearing on September 15, 2008. At that time the Court ordered Mr. Carrera detained

unless certain conditions could be met.

       THIS MATTER having come before the Court on the parties’ Stipulation to Set

Conditions of Release (Docket No. 55) and GOOD CAUSE appearing therefore;

       IT IS NOW ORDERED and this does ORDER that the Detention Order filed September

15, 2008 as Docket No. 39 is hereby modified to include the conditions set forth below.

       At the September 15, 2008 hearing the Court indicated that if Mr. Carrera could secure

living arrangements, release with specific conditions would be granted.

       The Court has been advised that the following conditions have been met:

       A.      Mr. Carrera’s mother-in-law has agreed to allow him to live in her home under

her supervision and as third party custodian.

       B.      Mrs. Jackie Carrera, his wife who testified at the detention hearing, has agreed to

refrain from seeking a divorce.


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       C.      The parties have agreed that:

               1)     Mr. Carrera is to be released to the third party custody of his mother-in-

       law Merry Bogart who lives at 2015 Idaho Avenue, Caldwell, Idaho.

               2)     Mr. Carrera will be on electronic monitoring.

               3)     Mr. Carrera will be at home at 2015 Idaho Avenue, Caldwell, Idaho,

       unless he is lawfully employed and working.

               4)     Mr. Carrera will submit to all conditions specified by pre-trial services and

       will maintain weekly contact with pre-trial services.

               5)     Mr. Carrera will restrict his travel to Ada, Canyon and Payette County.

               6)     Mr. Carrera will surrender his passport or visa, if he has one.

       Based on the parties’ agreement to specific terms and conditions of Defendant’s release,

IT IS HEREBY ORDERED that Defendant is released on the terms and conditions herein stated

until trial or revocation of the same. IT IS FURTHER ORDERED That the director of the

correctional facility in which the Defendant is confined shall make the Defendant available to the

United States Marshal for the purpose compliance with this Order and Mr. Carrera’s release. IT

IS FURTHER ORDERED That this Order incorporates the agreement by Ms. Merry Bogart to




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be Defendant’s third party custodian. Ms. Bogart’s acceptance of such responsibility is attached

hereto.

          IT IS SO ORDERED.

                                                    DATED: November 14, 2008



                                                    Honorable Candy W. Dale
                                                    Chief United States Magistrate Judge




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